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 1   Nicole Freeling
     8631 Sierra Ridge Dr. Apt F.
 2   Indianapolis, In 46239
     317-500-8757
 3   Plaintiff in Pro per
     n.freeling@outlook.com
 4
                                    UNITED STATES DISTRICT COURT
 5

 6                  CENTRAL DISTRICT OF CAIFORNIA, SANTA ANA DIVISION

 7

 8                                                   JURISDICTION

 9   NICOLE FREELING
                                                            Case No: 8:23-cv-00173-DOC-KES
10                    Plaintiff,

11   vs.

12                                                          PLAINTIFF’S NOTICE OF MOTION AND
     PCX, INC., a California Corporation; and DOES
13                                                          MOTION FOR TERMINATING SANCTIONS;
     1through 50,
14                                                          MEMORANDUM OF POINTS AND

                      Defendant                             AUTHORITES IN SUPPORT THEREOF;
15

16                                                          DECLARATION.

17
                                                            December 4th, 2023
18
                                                            8:30 AM
19
                                                            HON. JUDGE DAVID O. CARTER
20
                                                            COURT ROOM: 10A
21

22

23

24

25   1 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
26

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 1

 2

 3
                                                              Table of Contents
 4                                                                                            h
                        PLEASE TAKE NOTICE that on December 4
 5
     matter may be heard in the above-entitled Court located at 411 West Fourth Street Suite 4170 Santa Ana, CA 9270
 6

 7
     Federal Rule of Civil Procedure 26, 37. This motion is based on this notice, the memorandum of points and
 8

 9

10
                       INTRODUCTION ........................................................................................................................... 3
11
                       PROCEDURAL & FACTUAL BACKGROUND ........................................................................ 4
12

13                     Interrogatories: ............................................................................................................................... 10

14                     Admissions: ..................................................................................................................................... 12

15
                       Production of Documents Set one and two: .................................................................................. 12
16
                       Subpoenas: ...................................................................................................................................... 17
17
                       LEGAL ARGUMENT: ................................................................................................................. 20
18

19                     Terminating Sanctions; .................................................................................................................. 22

20                     Spoliation: ....................................................................................................................................... 23
21
                       Fraud on the Court: ....................................................................................................................... 24
22
                       ATTORNEY MISCONDUCT: ....................................................................................................... 25
23

24

25   2 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1

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 4

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 6

 7
     TO ALL THE PARTIES AND THEIR COUNSEL OF RECORD:

 8                   PLEASE TAKE NOTICE that on December 4th, 2023, at 8:30 AM or as soon
 9
     thereafter as this matter may be heard in the above-entitled Court located at 411 West Fourth
10
     Street Suite 4170 Santa Ana, CA 9270 Nicole Freeling, the Plaintiff in this case will move this
11
     Court for motion for Terminating Sanctions, pursuant to Federal Rule of Civil Procedure 26, 37.
12

13   This motion is based on this notice, the memorandum of points and authorities filed herein, the

14   declaration(s) filed by Plaintiff, the exhibits filed herein, the pleadings previously filed in this
15
     action, and any oral argument permitted at the hearing on this motion.
16

17

18
                                        INTRODUCTION

19   Plaintiff brings this terminating Sanction motion against the Defendants and their Attorney for
20
     discovery abuse, spoliation of evidence and fraud upon the court. Defendants have throughout
21
     this litigation engaged in a pattern of misconduct that can be summed up as deceitful and
22
     malicious. Defendants have shown various forms of discovery abuse along with spoliation and
23

24   fraud upon the court. Defendants have not only hidden key facts from Plaintiff but have

25   3 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   repeatedly taken advantage of Plaintiff' limited access and resources as Pro Se litigant during the
 2
     discovery process. The Defendant's discovery misconduct and deliberate concealment of critical
 3
     evidence shows their ability not to follow the federal rules or Court rules. They have made
 4
     intentional misrepresentation, misled the Courts and the Plaintiff with statements that are false.
 5

 6   Defendants have altered and fabricated key fact documents. Influence 3rd party witnesses to

 7   withhold discovery that was requested by Court order and Subpoena. Defendants’ discovery
 8
     abuse violates both rules 26, and 37 Defense Counsel has also violation the Rules of Professional
 9
     Conduct 3.3 and 3.4
10

11

12                     PROCEDURAL & FACTUAL BACKGROUND
13
     Parties were given the Order Setting Scheduling Conference to complete the initial disclosures
14
     and 26 f report See Dkt. 17. I Plaintiff made the initiative to draft my portion of the 26f report
15
     first. I answered all the questions pertaining to the Plaintiff then sent my draft to the Defense
16

17   counsel, when the Attorney sent the report back to me for it to be signed. I took notice that some

18   of my words had been changed or replaced in the Plaintiff sections. His draft had an added part
19
     for “damages” (stating as if I wrote it in) “Plaintiff damages are injunctions and limits on the
20
     damages of 4000 per claims”. I was flabbergasted at what I was reading knowing those were not
21
     my words. (See Exhibit 59 the joint 26f before I asked him to remove it). I contacted Mr.
22

23   Gruenbeck right away, and he insisted he made a mistake by copying and pasting from another

24   case he also says these are ADA claims, but the wording ADA was not included (SEE Exhibit
25   4 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   60 email between Plaintiff and Mr. Gruenbeck). Although that seems a bit odd because I
 2
     created the draft and sent it over to him, however I wrote this off as the Attorney being negligent
 3
     and moved on. The 26F report had other inaccuracies that raised my concerns in the Defendant
 4
     section; they misrepresented the first material fact by stating Plaintiff’s has “other offenses''
 5

 6   which is misleading because there are no other offenses, there are no others offense other than

 7   those on my background and Defense Counsel should specify by what he means as “other
 8
     offenses”. Then they’re stating “they can't hire people with fraud charges” making this false
 9
     accusation that Plaintiff has a fraud charge when they are very aware of all Plaintiff charges, and
10
     none is fraud. Plaintiff raised this misrepresentation concern during the deposition of Gil
11

12   however Defendant and Defense Counsel continued to label my offenses as “fraud” See Exhibit

13   14 deposition of Gil page 36 lines 8-13 & page 50 lines 4-25. Defendants have misrepresented
14
     another material fact in this same 26F report. Defendants claim to be exempt because of 10
15
     U.S.C 4656. This intentionally misleads the Court because this statute has no connection to
16
     Plaintiff when she was an employee with PCX nor anything to do with Plaintiff's criminal
17

18   history. See Exhibit 39 for the 10 USC 4656 Statue. Finally, in the 26f report Defendants failed

19   to disclose if they have an Insurance Policy. They state on the 26f report “None”. When asked
20
     about this insurance policy in the deposition Defendant stated, “We have insurance” When I ask
21
     about why it is stating “None” on the 26f report the Attorney Mr. Gruenbeck quickly interrupts
22
     and says, “he did the report and disclosed PCX does not have Insurance”. The Plaintiff then
23

24   warns Mr. Gruenbeck that the 26f report is considered under oath and reminded him of Rule 11.

25   5 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Gil Aouizerat also testified to having hundreds of pages of documentation of Insurance in this
 2
     deposition taken on July 12, 2023 See Exhibit 14 deposition of Gil page 80-86. Plaintiff sent
 3
     interrogatories to Defendants on July 26.2023 See Exhibit 16 Interrogatories question #24
 4
     Defendants was asked to list all Insurance policies their response is “None” this contradicts what
 5

 6   he previously testified to in his deposition on July 12th. As mentioned in my MSJ the hearing

 7   that took on June 5th, 2023, The Hon Judge Carter asked If they fired Plaintiff because of not
 8
     disclosing driving misdemeanors The Defense Council answered yes and added other offenses he
 9
     States because of Plaintiff's criminal conversion offense from 1998 and cable deception from
10
     2005 Defense Council never stated “fraud” during this hearing as stated in 26f report and the
11

12   deposition. However, this was still misleading the court because at the time of termination PCX

13   ADP background screening only goes back 7 years, it says it on the front page of the report.
14
     Plaintiffs' misdemeanors from 20 years ago would have not shown up on ADP screening. See
15
     Exhibit 47 PCX`s ADP background screening of Plaintiff.
16
     On June 5th during the hearing Plaintiff was provided the ordered to take depositions of Gil
17

18   Aouizerat and David Ratliff. After Plaintiff had contacted David, I then began reaching out to

19   many companies for the deposition. I learned that very few reporting companies work with pro
20
     se litigants. After many hours of searching, finally a company out of New York offered their
21
     service for the deposition. Plaintiff arranged for the deposition of David Ratliff scheduled for
22
     June 16th, 2023, this date was reached by both David Ratliff and Nicole the Plaintiff. The Court
23

24   ordered states the deposition of Gil Aouizerat and David to be taken on July 12 and 13 or any

25   6 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   time before those dates. Plaintiff would be traveling around those dates, so it made sense to do
 2
     the deposition before July 12th and 13th. Plaintiff reached out via email to Opposing Counsel on
 3
     6/8/23 to ask if he would be available on June 16, for both depositions of Gil Aouizerat and
 4
     David Ratliff. Plaintiff tells Mr. Gruenbeck the limited resources to finding a company and it
 5

 6   would save cost and time for me to do them both on the same day. Mr. Gruenbeck made it very

 7   clear “he would not be available for any depositions until July 12 and 13th. On June 14th Plaintiff
 8
     filed notice of zoom deposition with the Court and served it to opposing Counsel. On the evening
 9
     June the 15th day before David Ratliff scheduled deposition Plaintiff received an email from Mr.
10
     Gruenbeck which he has also cc David Ratliff and Gil Aouizerat. In the email he makes
11

12   statements saying this is not a “court order” and the court never ordered David Ratliff to take a

13   deposition. He makes allegations that David Ratliff insinuated to being pressured to take
14
     deposition. The email also shows the Attorney making threats to sanction Plaintiff. His email
15
     caused confusion and along with whatever other conversation they had with Daivid, it caused
16
     him to cancel the deposition. This obviously caused delay and I had already made the non-
17

18   refundable down payment for the deposition to be taken of David on June 16th. See DKT 24-27

19   objection and objection responses with attached exhibits.
20
     Nevertheless, both depositions were taken of Gil and David Ratliff. Gil Aouizerat deposition was
21
     taken on July 12th. July 14th. Hon Judge Carter made it clear during this hearing that the
22
     depositions were indeed Court orders! He also states we should have taken all the depositions
23

24   prior to the hearing including Plaintiffs. Both parties had until the end of the day to get the

25   7 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   reminder depositions of Plaintiffs’ and David Ratliff completed. July 17th both parties received
 2
     the Scheduling orders for pre-trial and trial procedures. July 26th, 2023, Plaintiff sends out her
 3
     written discovery to the Defense Mr. Gruenbeck. A request to answer Interrogatories,
 4
     Admissions and set one of Production of documents were sent on the 26th of July 2023.
 5

 6   On July 27th Plaintiff was cc on an email Mr. Gruenbeck sent to the Deputy Clerk requesting an

 7   immediate day and time for a Settlement conference. The email that was sent by opposing
 8
     counsel stated, “they wanted mediation before filing motions for protective orders because of the
 9
     nature of the discovery request” Both parties met for mediation on August 11th, 2023. We did
10
     not come to a settlement agreement. The court order stated that both parties participate in a joint
11

12   report steven days after the mediation takes place. On August 14th Plaintiff sent Defense

13   Counsel an email and serving (set two) requesting Production of Documents. Plaintiff asks
14
     Counsel how to proceed with the joint settlement report Defense counsel did not respond to the
15
     Plaintiff See Exhibit 50 Plaintiff email. August 18,2023 7 days after Mediation I Plaintiff did
16
     the joint report without the Defense Counsel then submitted it to the Court. Only then did Mr.
17

18   Gruenbeck respond, he resubmitted Plaintiff's document by adding his signature. See DKT. 38

19   and 39 for report. Plaintiff received an email from Mr. Gruenbeck on August 24,2023 the day
20
     before the written discovery 30 days was up. In the email he states he has an issue with question
21
     #16 on the request for production of documents. See Exhibit 17 question # 16. We had a meet
22
     and confer the following day on August 25, 2023. His concern was the privacy of his clients'
23

24   employees. Plaintiff agreed to allow the names and other personal information such as socials to

25   8 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   be removed only if these files are identified by race and gender. Plaintiff was clear that names of
 2
     the employees must be revealed if the race and gender is not identified. Counsel Mr. Gruenbeck
 3
     assured me that each file would have “Information regarding gender, race, ethnicity, criminal
 4
     history and salary information shall not be blocked out”. Counsel asked me for a week extension
 5

 6   to turn in all discovery. In good faith I did not object to giving them an additional week. See

 7   Exhibit 51 Mr. Gruenbeck email 8/25.
 8
     Friday September 1st was the next due date for all discovery to be turned in by the Defense
 9
     Counsel after giving the extension. I received an unexpected phone call from Counsel informing
10
     me they have the production of documents that were added to a Dropbox folder which would
11

12   have contained 11 files. He then tells me that he had all the Interrogatories ready however his

13   computer shut off and he lost all the answers therefore he needed more time to re-write the
14
     answer in. He asked for additional time just the weekend to turn in the remainder discovery. In
15
     good faith I allowed another extension to Counsel Mr. Gruenbeck. I look at the files just sent in
16
     the shared Dropbox I immediately notice these have no Identification of race or gender. I sent
17

18   Counsel an email right away to ask about the race and gender Mr. Gruenbeck ignores this email

19   and never responded to my question about race or gender. See Exhibit 52 email between parties
20
     on 9/1/23.
21

22

23

24

25   9 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Interrogatories:
 2
     Plaintiff requested a total of 25 Interrogatory questions, every question is relevant to claims laid
 3
     out in Plaintiff's complaint. Plaintiff did not seek any information from Defendants that was
 4

 5   beyond claims relevance. When I finally did get responses, they were incomplete, sketchy or not

 6   answered at all. Defendants acted in bad faith because most of the answers are false. Defendant's
 7
     misconduct in depriving Plaintiff of the information requested is undeniable.
 8
     Interrogatory NO. 3 ask to identify all Witnesses defendants intend to call at trial; Defendants
 9
     response was only “Gil Aouizerat.”
10

11   Interrogatory NO. 4 ask to identify all affirmative defenses; Defendants response “see

12   defendants answer to complaint” …Plaintiff also ask Defendants produce documents pertaining
13
     to affirmative defenses on Request for production of documents and they produce no documents.
14
     Interrogatory NO. 8 Ask to identify all persons who replace the plaintiff's sales position
15
     including the date of hire, race and salary. Defendants’ response was “objection burdensome
16

17   oppressive invades employee’s privacy notwithstanding the objection redacted documents of

18   defendants shall produce pursuant to written agreement”.
19
     Interrogatory NO. 11 ask please identify and state the offenses on plaintiff's criminal history
20
     that would disqualify her to work with PCX because of Federal Government Contracting
21
     standards; Defendants response “all misdemeanors’ convictions.”
22

23   Interrogatory NO. 15 ask to identify all rules procedures and policies that are used to evaluate

24   employees’ performances; Defendants response “he company process is to provide feedback
25   10 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   after each role play at the end of the week we evaluate whether someone is a fit and decide
 2
     whether to proceed from there to continuing invest in a new member or not”
 3
     Interrogatory NO. 16 Ask, in your deposition on July the 12th 2023 you stated that PCX hires
 4
     some employees with misdemeanors or felonies pertaining to both please identify in detail what
 5

 6   offenses PCX allows; Defendants response “we have had very few applicants or employees

 7   with legal issues prior to “Miss Freeling” they all disclose them in advance most that I recall
 8
     were DUIs or traffic violation issues and they were all disclosed at the time of the interview
 9
     process additionally these employees were not hired to work on the government sales of PCX but
10
     on the side of commercial sales which did not require the same standards for criminal
11

12   convictions”

13   Interrogatory NO. 18 Please explain in detail how PCX applications are following the
14
     California band The Box law; Defendants response “because the great majority of our sales are
15
     to the government and Military contract PCX is exempt from compliance.”
16
     Interrogatory NO. 19 If PCX job application is not in compliance with the band The Box law
17

18   explain in detail why; Defendants response “Not applicable.”

19   Interrogatory number 23 lists all charges, investigations, complaints, or lawsuits for all late
20
     wage penalties filed against anyone with the company at any time; Defendants response Nicole
21
     Freeling only Late pay Violation. (This is not true) See Exhibit 40 Gordon vs Pacific
22
     Component Xchange)
23

24

25   11 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Interrogatory NO. 24 Ask Defendants to list insurance policies that was in place that may cover damages, claims

 2   or actions, what kind and to provide name address and telephone number of all their insurance companies

 3   Defendants response “None” (this contradicts what Gil Aouizerat testified to in deposition) See Exhibit 16 Defense

 4   response to Plaintiffs’ Interrogatories

 5

 6
     Admissions:
 7
     Plaintiff requested a total of 20 Admissions, every question is relevant to claims laid out in
 8

 9   Plaintiff's Complaint. The majority of the questions contradict what Defendants previously

10   testified to in the deposition taken of Gil Aouizerat on July 12, 2023. Example.
11
     ADMISSION NO. 4: Admit that YOU stated in your deposition ON July 12th, 2023, that you
12
     do not know what the California Fair Chance Act Law is. Defendant response: “Deny”. But
13
     this is not what he testified to previously on July 12th See Exhibit 14 Deposition of Gil
14

15   Aouizerat page 34 lines 9-22. Eight out twenty responses to these Admissions were answered

16   with these boilerplate objections by the Defendants stating “Objection Vague, ambiguous.
17
     Without waiving any objections. Deny”. See Exhibit 19 Defense response to Plaintiffs’
18
     Admissions
19

20

21   Production of Documents Set one and two:
22
     Plaintiff requested two sets of Production of documents from the Defendants. Set one has a total
23
     of twenty Requests. Set two has a total of seventeen Requests. Every document request is
24

25   12 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   relevant to the claims laid out in Plaintiff's Complaint. Plaintiff did not seek any information
 2
     from Defendants that was beyond claims relevance. Again, Defendants only answered 2 requests
 3
     out of set one and zero request in set two the rest were all objections. These objections can also
 4
     be seen as boilerplate objections. Defendants use the same objections repetitively for every
 5

 6   request. The objections do not give any reasons or explanations for stating these objections, just

 7   the same objections over again cookie cutter responses. Boilerplate objections to requests are
 8
     inadequate to preclude production. Fed. R. Civ. P. 34(b)(2)(B), (C); Burlington N. & Santa Fe
 9
     Ry. Co., 408 F.3d 1142, 1149 (9th Cir. 2005) Please See Exhibits 17 and exhibit 18 for both
10
     sets of Defendants response to Plaintiff's Request for Production of Documents
11

12   The request Defendants partially answered in set one is request number 16. Now this is ironic

13   because the Defendants Response document that was turned in on 9/4/23 after the meet and
14
     confer on August the 25 which (I discussed earlier in this motion and showed email). Defendants
15
     added an objection after producing the documents. When Plaintiff finally got the Defendant's
16
     responses back on the document turned in with the other Interrogatories, admissions the
17

18   production documents it looked like this. REQUEST FOR PRODUCTION OF DOCUMENT NO. 16:

19   Provide copies of all employee personnel files dating back the past 5 years including all background checks, all

20   applications and all conditional offers showing salary rates. Please Identify each file by race and gender.

21   Defendants’ Response: Objection, Burdensome, Oppressive, Invades Employees right to privacy. Notwithstanding

22   the objection redacted documents in possession of Defendant shall be produced pursuant to a written agreement. See

23   Exhibits 17 & 16

24

25   13 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   What Defendants produced: Background checks, applications and conditional offers showing
 2
     salary rates for those employee files. As I mentioned earlier, Defendants removed all the
 3
     employee's names from these files although they promise to produce the race and gender
 4
     connected to these records. They did not hold up to their end of this bargain. Plaintiff agreed
 5

 6   only if race and gender show with each employee file, then names of the employees could be

 7   removed. If not, I would need the name to Identify them by race and gender. The documents
 8
     provided had the employee applications, conditional offers, and lastly their background
 9
     screenings. The Attorney told Plaintiff that he had Bates stamp each document. The Bate stamp
10
     was found at the bottom of each produced document. Defendants produced these documents in a
11

12   total of 11 different folders labeled as “RPD Set. Plaintiff begins with RPD 1 and continues all

13   the way through RPD 11. Plaintiff viewed every document in the Chronological order that was
14
     given by the Defendants first, the application next, the conditional offers attached to each
15
     application finally, the ADP background screenings. As mentioned in my SJM on page 17
16
     Although the Defendants blacked the names on every application, conditional and backgrounds
17

18   produced, Plaintiff was able to identify Jenna, David and Devon’s who were all in the new hire

19   training the week of 6/20/23. Theirs can be Identified by the start date, title, and location of
20
     where they were from. Plaintiff also used the dates and titles to identify replacements. As I
21
     continue to view and examine each and every document it is clear that a lot these documents
22
     have been altered. Particularly the ADP background screening for some of the applicant's
23

24   background screenings were copied over, removed, or changed. There were multiple files of

25   14 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   these background screenings that were identical but attached to different applications and
 2
     conditional offers; however, they have the exact same date as the others from previous
 3
     background screenings. As I viewed the documents it was obvious that PCX had covered up and
 4
     tried to hide some of these employees' criminal histories to make it look as though some had no
 5

 6   background record at all. Altered Background Records: First, I notice PCX only provides 2
 7
     pages for these reports when a full report has numerous pages See Exhibit 47 Plaintiff screening
 8
     of what a full report should look like. I’ve listed below all the records that have the exact same
 9
     background screening dates. These are different applications and offers from different employees
10

11   and different dates and years. However, each of these records has an exact background screening

12   copied date and report. On the APD background documents it has a column on the left (where
13
     the names and social security numbers that are blacked out by PCX) below in this same column
14
     you will see “Report Contents” this lays all the content that should be included in the report.
15
     Then below you will see PCX, INC with an order number and the request by Maryjane Christner
16

17   who is the HR manager for PCX. Finally, this same column has a Printed and Viewed date for

18   each background screening. Attached below.
19
     Exhibit 29 RPD #1 Pages 47- 55 Bates stamp DEF00047-DEF00054= The application date has
20
     2-1-22 and the Background screening shows dates of printed 8/17/22 viewed 8/18/22
21
     Exhibit 29 RPD #1 Pages 57- 62 Bates stamp DEF00057-DEF00062= Application date has 12-
22

23   6-21 and the Background screening shows dates of printed 8/17/22 viewed 8/18/22

24

25   15 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   Exhibit 30 RPD #2 Pages 34- 50 Bates stamp DEF00096-DEF00011= Nothing matches with
 2
     this entire record. Application date of 3/23/23, conditional offer date has 8/1/22 and the
 3
     background screening dates of printed 8/17/22 viewed 8/19/22.
 4
     Exhibit 54 RPD #3 Pages 24- 34 Bates stamp DEF000160-DEF000170= Application date says
 5

 6   10/13/21, offer date says 1/13/22 and the background screening has the same printed 8/17/22

 7   viewed 8/18/22 date
 8
     Exhibit 31 RPD #8 Pages 28- 36 Bates stamp DEF000358-DEF000365= The application the
 9
     employee disclosed a traffic violation within the 7 years however the background screening was
10
     altered to show no record.
11

12   Exhibit 31 RPD #8 Pages 37- 44 Bates stamp DEF000367-DEF000374= The application date

13   is 12/27/21 again the background screening has that date used on others, printed 8/17/22 viewed
14
     8/18/22
15
     Exhibit 31 RPD #8 Pages 45- 52 Bates stamp DEF000375-DEF000382=The application date is
16
     2/21/22 the background screening has the same date other apps, printed 8/17/22 viewed 8/19/22
17

18   Exhibit 33 RPD #10 Pages 46- 55 Bates stamp DEF000519-DEF000523=The application date

19   is 12/1/21 background screening has the same printed 8/17/22 viewed 8/18/22 dates
20
     Exhibit 33 RPD #10 Pages 56- 64 Bates stamp DEF000524-DEF000531= This application date
21
     is 1/4/21, the conditional offer has 7/19/21 and the background screening date has printed
22
     8/17/22 viewed 8/19/22 dates.
23

24

25   16 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Exhibit 34 RPD #11 Pages 33- 44 Bates stamp DEF000566-DEF000577= The application date
 2
     is 6/17/21, conditional offer start date 6/14/23 and background screening has the same previous
 3
     dates printed 8/17/22 viewed 8/18/22 dates
 4
     Exhibit 30 RPD #2 Page 39 Bates stamp DEF000101 and Exhibit 35 RPD #4 page 21
 5

 6   DEF00224= Both applications are the same and have the same date. You can see it has been

 7   copied.
 8
     Exhibit 35 and Exhibit 36 RPD #4 & #5 have the same documents but different Bates stamp.
 9
     Subpoenas:
10

11   During a meet and confer Defense Counsel told Plaintiff that it's not their job to give information

12   about other African American that were employed with PCX and to get this information on my
13
     own. Defendants would not disclose the accurate number of employees that work for PCX.
14
     Plaintiffs then exercise the use of Subpoena to possibly get this information. On September 6,
15
     2023, Plaintiff served Subpoena on 3rd party ADP service who handled PCX payroll and
16

17   background screening. Plaintiff also served Subpoena copies with notice to Defendants on

18   September 6, 2023.
19
     A week after APD was served I was informed by Alice Quinn from the Subpoena department
20
     ADP only have client’s annual payroll records, but records are not identified by race or gender
21
     She also informed me that if I wanted those payroll records, I would have to reword the
22

23   subpoena to say, “payroll records specifically”. I plaintiff did another subpoena and sent it back

24   out to ADP subpoena's Department. After waiting a couple of weeks, I reached out to Alice
25   17 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Quinn, she informed me I should have received an email from the attorney of PCX. Attorney.
 2
     Mr. Gruenbeck sent an email on 9/27/23. He states how he was contacted by ADP about the
 3
     subpoena. In this email he addresses that Plaintiff never sent a notice and he also threatens
 4
     Plaintiff again with sanctions and a motion to quash the subpoena. He asks for an immediate
 5

 6   meeting to confer. See Exhibit 55 email Mr. Gruenbeck

 7   Plaintiff was open to meet and discuss his concerns because Defendant had been served with the
 8
     notice and subpoena on September 6, 2023. During the meet and confer on September the 28th
 9
     opposing Counsel and Plaintiff came to an agreement about the subpoena with ADP again the
10
     opposing Counsel has concerns about the employee's names that will be revealed on those
11

12   records and again Plaintiff agrees to allow them to only remove the names and social security

13   numbers if all the other data is left on those reports. After this meet and confer on. Mr.
14
     Gruenbeck sent an email informing Ms. Alice Quinn about the meet and confer agreement and
15
     this email included Plaintiff. The email that he sent on 9/28/23 also had a previous attached
16
     email that he had sent to Alice Quinn prior on September 7, 2023, regarding the Plaintiff
17

18   subpoena. Plaintiff was not aware of the email or cc on this email to ADP Alice Quinn on 9/7/23.

19   However, this email revealed, the Attorney Mr. Gruenbeck contacted Alice Quinn immediately
20
     after I sent him the Subpoenas, and the notice on September the 6th. His statement “she doesn't
21
     have an attorney” was a bit odd because it says Pro Se on the Subpoena and furthermore ADP
22
     Alice Quinn was aware I was Pro se because that's how I introduced myself when I made the
23

24   initial contact. His statement in the email saying, “I suspect there may be some defects which

25   18 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   would cause you to reject them”. This statement shows Mr. Gruenbeck is directing Alice Quinn
 2
     to disobey the subpoena. See Exhibit 56 email Mr. Gruenbeck to Alice Quinn 9/7/23.
 3
     After the meet and confer on Sep 28, 2023 Plaintiff did not receive any ADP records from the
 4
     Defense Counsel until Oct. 19 2023. He sent one employee record from 2019. Mr. Gruenbeck
 5

 6   explains that they have only redacted the names and social security numbers. He makes the

 7   statement “Nothing else was redacted or deleted” See Exhibit 61 email from Gruenbeck 10/19/2
 8
     The file Gruenbeck provided did have the name and social security number removed, however I
 9
     wanted to make sure the number of employees were not changed or missing. Plaintiff called
10
     Alice Quinn of ADP and asked her to please verify this record that was sent by Mr. Gruenbeck
11

12   only has the names and social security numbers removed. Over the phone she would not specify

13   the information on the records and made a comment stating “I don't work on payroll” then she
14
     said she will look it over and send an email. Ms. Quinn sent an email stating she sent all records
15
     to Mr. Gruenbeck from 2019-2023 and the one he sent to me was one employee from 2019. I
16
     made a phone call to Ms. Quinn asking if she could verify the number of employees by
17

18   comparing what he sent and what she had produced before they removed all names and socials.

19   Ms. Quinn sent me an email on 10/25/23 stating the “payroll totals” are the same. I sent an email
20
     to her asking for “number of employees total” not payroll total. Plaintiff asked Ms. Quinn if she
21
     could send her the copy, she has of that same 2019 record she can remove the name and social
22
     security number just as Mr. Gruenbeck. On 10/26/23 I received an email from Ms. Quinn
23

24   refusing to cooperate by sending me her direct copy that she sent to Mr. Gruenbeck so the record

25   19 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   could be authenticated. Alice Quinn referred me to reach out Mr. Gruenbeck about my “redacted
 2
     concerns”. This is concerning because this was Plaintiff’s Subpoena to ADP, Additionally,
 3
     Plaintiff was acting in good faith in the meet and confer to allow Mr. Gruenbeck to receive the
 4
     records first and remove his client’s employee names and socials. See Exhibit 62 Emails
 5

 6   between Plaintiff and Ms. Quinn.

 7

 8
     Defendant’s Written Discovery Request Violated the Court Order;
 9
     Other than the deposition that was taken on July 14th no other discovery request was made by
10
     the Defendants to the Plaintiff until Sep 27, 2023. Plaintiff received an email for Defendants
11

12   Interrogatories, and Production of Documents requested on September 27, 2023. The scheduling

13   Order states that the cutoff date to serve written discovery was 45 days before the cut off Oct 27,
14
     2023 making that date September 12, 2023. During our meet and confer that took place about the
15
     ADP Subpoena on September 28th Attorney Gruenbeck asked me if I received their discovery
16
     request. Plaintiff asked Counsel if he was aware of the 45-day deadline he says it’s 30 days
17

18   before discovery cut-off (that was incorrect). Defendants served written discovery two weeks

19   after the deadline. Plaintiff served Defendants with objection to their written discovery on
20
     October 6th, 2023, See Exhibit 58 Plaintiff 's Objection to Defendant's discovery request.
21

22

23
                                     LEGAL ARGUMENT:

24   Fed Civ. Rule 26 and 37.
25   20 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

     AUTHORITES IN SUPPORT THEREOF; DECLARATION.
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 1   Plaintiff seeks terminating sanctions for litigation abuses and misconduct detailed throughout
 2
     this motion.
 3
     Pursuant to the Federal Rules of Civil Procedure, if a party “fails to obey an order to provide or
 4
     permit discovery, including an order under Rule 26(g), or 37(e), the court where the action is
 5

 6   pending may issue further just orders.”

 7   Defendants violated both Rule 26 (g) and 37 including 37 (e) when they misrepresents certain
 8
     relevant information, fails to disclose such information, lies during a deposition, or engages in
 9
     any other deceitful form of discovery,
10
     “Federal Rule of Civil Procedure 37 authorizes the district court, in its discretion, to impose a
11

12   wide range of sanctions when a party fails to comply with the rules of discovery or with court

13   orders enforcing those rules.” Wyle v. R.J. Reynolds Indus., Inc., 709 F.2d 585, 589 (9th
14
     Cir.1983), citing Nat'l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976). In
15
     addition, Rule 37 provides for an award of monetary sanctions: if a party fails to obey a
16
     discovery order, the party may be required to “pay the reasonable expenses . . . caused by the
17

18   failure, unless the failure was substantially justified, or other circumstances make an award of

19   expenses unjust.” Fed.R.Civ.P. 37(b)(2)(C) (emphasis added). Notably, “sanctions may be
20
     imposed even for negligent failure to provide discovery.” Fjelstad v. Am. Honda Motor Co., 762
21
     F.2d 1334, 1343 (9th Cir.1985), citing Lew v. Kona Hosp., 754 F.2d 1420, 1427 (9th Cir.1985);
22
     Marquis v. Chrysler Corp., 577 F.2d 624, 642 (9th Cir.1978). A court is permitted to impose the
23

24   sanction of dismissal or default under Rule 37 only in “extreme circumstances” where the

25   21 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   violation is “due to willfulness, bad faith, or fault of the party.” In re Exxon Valdez, 102 F.3d
 2
     429, 432 (9th Cir.1996).
 3
     Terminating Sanctions;
 4

 5   A court has the “inherent authority” to issue “sanctions in response to abusive litigation

 6   practices.” Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006). One such sanction is the
 7
     authority to dismiss a case when “a party has engaged deliberately in deceptive practices that
 8
     undermine the integrity of judicial proceedings” because “courts have inherent power to dismiss
 9
     or enter a default judgement when a party has willfully deceived the court and engaged in
10

11   conduct utterly inconsistent with the orderly administration of justice.” Id. (quoting Anheuser–

12   Busch, Inc. v. Natural Beverage Distribs., 69 F.3d 337, 348 (9th Cir. 1995)). “It is firmly
13
     established that the courts have inherent power to dismiss an action or enter a default judgment
14
     to ensure the orderly administration of justice and the integrity of their orders.” Phoceene Sous-
15
     Marine, S.A. v. U.S. Phosmarine, Inc., 682 F.2d 802, 806 (9th Cir. 1982) (citations omitted).
16

17   Terminating sanctions may issue only upon a finding of willful disobedience or bad faith. In re

18   Exxon Valdez, 102 F.3d 429, 432 (9th Cir. 1996); Wyle v. R.J. Reynolds Indus., Inc., 709 F.2d
19
     585, 589 (9th Cir. 1983) (the violations must be “due to willfulness, bad faith, or fault of the
20
     party”). “To permit the fabrication of spurious corroborating evidence without the imposition of
21
     a harsh responsive sanction would constitute an open invitation to abuse of the judicial system of
22

23   the most egregious kind.” Asia Pac. Agr. & Forestry Co. v. Sester Farms, 2013 WL 4742934,

24   *11 (D. Or. Sept. 3, 2013); see Valerio v. Boise Cascade Corp., 80 F.R.D. 626, 641 (N.D. Cal.
25   22 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   1978), aff’d, 645 F.2d 699 (9th Cir. 1981). Garcia v. Berkshire Life Ins. Co. of Am., No. 04-CV-
 2
     01619-LTB-BNB, 2007 WL 6757307 (D. Colo. Nov. 29, 2007)
 3

 4

 5
     Spoliation:

 6   Under Federal Rule of Civil Procedure 37(e), the Court may sanction a party “if electronically stored information

 7   that should have been preserved in the anticipation or conduct of litigation is lost because that party failed to take

 8   reasonable steps to preserve it, and it cannot be restored or replaced through additional discovery. Rule 37(e)(1)

 9   authorizes, upon a finding of prejudice, sanctions to cure that prejudice, whereas Rule37(e)(2) authorizes sanctions

10   upon a finding that a party intended to deprive another party of information. Under Rule 37(e)(2), if the Court finds

11   that a party intended to deprive another of information, “no separate showing of prejudice is required because ‘the

12   finding of intent . . . can support . . . an inference that the opposing party was prejudiced by the loss of

13   information.’” Borum , 332 F.R.D. at 48 (quoting Fed. R. Civ. P. 37(e)

14   “Spoliation” of evidence occurs when someone with an obligation to preserve evidence with regard to a

15   legal claim neglect to do so or intentionally fails to do so. Such a failure to preserve evidence can take
16
     place by destruction of the evidence, damage or altered to the evidence, or losing the evidence. When
17
     spoliation occurs, the party responsible may be held accountable in court through a variety of different
18
     sanctions. “fabricating evidence has been referred to as the most egregious misconduct which justifies a
19
     finding of fraud upon the Court.” Kenno v. Colorado’s Governor’s Off. of Info. Tech., 2021 WL 2682619,
20
     at *19 (D. Colo. June 30, 2021).
21
     Before the discovery phase began I Plaintiff sent a spoliation letter to the Defendants on May 18, 2023
22

23   See Exhibit 57 spoliation letter.

24

25   23 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   Penal Code 135 PC the California statute that makes it a crime for a person to: willfully destroy or hide

 2   evidence and do so while knowing such evidence is relevant to a trial, police investigation, inquiry, or
 3
     other legal proceeding.
 4
     Fraud on the Court:
 5

 6
     Fraud upon the Court, an equitable remedy, deals with the integrity of courts and justice. The

 7   concept of fraud upon the court correctly challenges a preferential judicial legal principle: the
 8   finality of a judgment. A “fraud on the court” as that term has been defined by the 9th Circuit is
 9
     “an unconscionable plan or scheme which is designed to improperly influence the court in its
10
     decision.” England v.Doyle, 281 F.2d 304, 309 (9th Cir. 1960). A party who is guilty of fraud or
11

12   misconduct in the prosecution or defense of a civil proceeding, should not be permitted to

13   continue to employ the very institution it has subverted to achieve his or her ends. Carter v.
14   Carter, 88 So.2d 153, 157 (Fla. 1956). To constitute fraud on the court, the alleged misconduct
15
     must “harm the integrity of the judicial process.” Alexander v. Robertson, 882 F.2d 421, 424 (9th
16
     Cir.1989).
17

18
     Fraud upon the court should embrace only that species of fraud which does or attempts to, defile

19   the court itself, or is a fraud perpetrated by officers of the court so that the judicial machinery
20   cannot perform in the usual manner its impartial task of adjudging cases that are presented for
21
     adjudication. Gumport v. China International Trust and Inv. Corp. (In re Intermagnetics
22
     America, Inc.), 926 F.2d 912, 916 (9th Cir.1991) (quoting 7 James Wm. Moore et al., Moore's
23

24

25   24 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   Federal Practice ¶ 60.33, at 515 (2d ed. 1978)). Fraud upon the court includes both attempts to
 2
     subvert the integrity of the court and fraud by an officer of the court .
 3
     ATTORNEY MISCONDUCT:
 4

 5   As a lawyer Tom Gruenbeck is an officer of the Court and owes the fiduciary duties and loyalty.

 6   Defense Counsel Mr. Greenback has shown to misrepresent or omit material facts to the court.
 7
     Mr. Greenback has willfully participated in the acts of his client’s perjury and distortion of
 8
     evidence.
 9
     Attorney Gruenbeck has failed the Rules of Professional Conduct.
10

11   Rule 3.3

12      (a) A lawyer shall not:
13
                    knowingly* make a false statement of fact or law to a tribunal* or fail to correct a
14
                     false statement of material fact or law previously made to the tribunal* by the
15
                     lawyer;
16

17                  offer evidence that the lawyer knows* to be false. If a lawyer, the lawyer’s client,

18                   or a witness called by the lawyer, has offered material evidence, and the lawyer
19
                     comes to know* of its falsity, the lawyer shall take reasonable* remedial
20
                     measures, including, if necessary, disclosure to the tribunal,* unless disclosure is
21

22
                     prohibited by Business and Professions Code section 6068, subdivision (e) and

23                   rule 1.6. A lawyer may refuse to offer evidence, other than the testimony of a

24                   defendant in a criminal matter, that the lawyer reasonably believes* is false.
25   25 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1   Rule 3.4
 2
           (a) A lawyer shall not
 3
                      unlawfully obstruct another party's access to evidence, including a witness, or
 4
                       unlawfully alter, destroy or conceal a document or other material having
 5

 6                     potential evidentiary value. A lawyer shall not counsel or assist another

 7                     person* to do any such act;” Rule 3.4 - Fairness to Opposing Party and
 8
                       Counsel, Cal. R. Prof'l. Cond. 3.4
 9
                      suppress any evidence that the lawyer or the lawyer's client has a legal
10

11
                       obligation to reveal or to produce;

12                    “falsify evidence, counsel or assist a witness to testify falsely, or offer an
13                     inducement to a witness that is prohibited by law;” Rule 3.4 - Fairness to
14
                       Opposing Party and Counsel, Cal. R. Prof'l. Cond. 3.4
15
     While an attorney “should represent his client with singular loyalty that loyalty obviously does
16

17   not demand that he act dishonestly or fraudulently; on the contrary his loyalty to the court, as an

18   officer thereof, demands integrity and honest dealing with the court.” And when he departs from
19   that standard in the conduct of a case, he perpetrated a fraud upon the court.
20
     Alexander v. Robertson, 882 F.2d 421, 424 (9th Cir. 1989) (citing Kupferman v. Consol.
21
     Research & Mfg. Corp., 456 F.2d 1072, 1079 (2d Cir. 1972)).
22

23

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25   26 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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 1

 2

 3

 4
                                   CONCLUSION:
 5
                    WHEREFORE, based on the foregoing, Plaintiff Nicole Freeling respectfully
 6
     requests that Court will grant this Motion for Terminating Sanctions for the Defendants
 7
     discovery abuse throughout this litigation process. I pray the Court will grant relief deemed just
 8

 9   and appropriate.

10                                                               Respectfully submitted,
11

12
     DATE: November 1, 2023,                               By:    Nicole Freeling
13
                                                                  Nicole Freeling, Pro Se.
14

15

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25   27 PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR TERMINATING SANCTIONS; MEMORANDUM OF POINTS AND

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